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      EXHIBIT 3
                     Case 4:19-cv-07123-PJH Document 18-4 Filed 02/06/20 Page 2 of 3


Mornin, Joe

From:                                Mornin, Joe
Sent:                                Monday, November 4, 2019 3:28 PM
To:                                  shalevidc@gmail.com; shalev@nsogroup.com; media@nsogroup.com;
                                     info@nsogroup.com
Cc:                                  Grooms, Daniel; LeBlanc, Travis
Subject:                             WhatsApp, et al. v. NSO Group, et al.
Attachments:                         20191104 T. LeBlanc letter to S. Hulio.pdf; Attachments - NSO.zip


Dear Mr. Hulio:

We represent WhatsApp Inc. and Facebook, Inc. in a federal lawsuit that has been filed against NSO Group Technologies
Ltd. in the United States District Court for the Northern District of California, No. 3:19‐cv‐07123.

As explained in the attached letter, we (1) request contact information for your counsel, (2) seek your signature
acknowledging service of summons, and (3) notify you of your duty to preserve all documents that may be relevant to
this litigation.

In addition to the letter, the following documents are attached in a ZIP file:

         A document titled “Notice of a Lawsuit and Request to Waive Service of a Summons.”

         A document titled “Waiver of the Service of Summons.” Please sign this waiver and return it to us within 60
          days.

         The complaint and civil cover sheet filed in this case.

         The standing order for all judges of the Northern District of California.

         The civil standing order for Magistrate Judge Jacqueline Scott Corley.

         The Court’s order setting ADR deadlines and the initial case management conference for January 30, 2020.

         The Northern District of California’s general standing order for civil cases entitled “Contents of Joint Case
          Management Statement.”

Due to the size of the file, we will send a separate email attaching the exhibits to the complaint in this case.

You may return the signed document to our attention via email at tleblanc@cooley.com. We look forward to hearing
from you or your counsel soon.

Very truly yours,
Joseph D. Mornin

Joseph D. Mornin
Cooley LLP
101 California Street, 5th Floor
San Francisco, CA 94111-5800
+1 415 693 2176 office
jmornin@cooley.com
Bio: cooley.com/jmornin


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Mornin, Joe

From:                              Mornin, Joe
Sent:                              Monday, November 4, 2019 3:32 PM
To:                                shalevidc@gmail.com; shalev@nsogroup.com; media@nsogroup.com;
                                   info@nsogroup.com
Cc:                                LeBlanc, Travis; Grooms, Daniel
Subject:                           WhatsApp, et al. v. NSO Group, et al. - exhibits
Attachments:                       [1-1] Exhibits.pdf


Mr. Hulio:

As indicated in my previous email, the exhibits to the complaint in this case are attached.

Very truly yours,
Joseph D. Mornin

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